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 2   Beach Road, Garapan
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 3   Saipan, Mariana Islands 96950
     Telephone: (670) 233-8600
 4   Facsimile:    (670) 233-5262
     E-Mail Address:      mark@saipanlaw.com
 5
     Attorney for Plaintiff
 6
                          IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE NORTHERN MARIANA ISLANDS
 8   RANDALL T. FENNELL,                          )          CASE NO. CV 09-0019
 9                                                )
                            Plaintiff,            )
10                 vs.                            )
                                                  )                  DECLARATION OF
11   MATTHEW T. GREGORY, former Attorney)                               COUNSEL
     General, GREGORY BAKA, Acting Attorney)
12   General, ANTHONY WELCH, Assistant Attorney)
     General, TOM J. SCHWEIGER, Assistant Attorney)
13   General and DOES 1-20, in their official and)
     individual capacities,                       )
14                                                )          Date: September 10, 2009
                            Defendants.
                                                  )          Time: 9:00 a.m.
15                                                )          Judge: Hon. Alex R. Munson
16
            I, Mark B. Hanson, do hereby declare as follows:
17
            1. I am competent to testify, and if called to do so, I would testify in accord herewith.
18
            2. I am the attorney for Plaintiff in the above-captioned case.
19
            3. Attached hereto as Exhibit “A” is a true and correct copy of a letter dated August
20
     7, 2006 from the Honorable Robert C. Naraja, Presiding Judge of the Commonwealth Superior
21
     Court to Rexford C. Kosack.
22
23
24          I declare under the penalty of perjury that the foregoing is true and correct and that

25   this Declaration was executed this 27th day of August, 2009 in Saipan, Commonwealth of the

26   Northern Mariana Islands.

27                                                       /s/ Mark B. Hanson
                                                         __________________________
28                                                       MARK B. HANSON
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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that the following attorneys were served with a copy of the foregoing
 3   through the Court’s electronic case filing system:
 4
                           Braddock J. Huesman, Assistant Attorney General
 5                         OFFICE OF THE ATTORNEY GENERAL
                           Commonwealth of the Northern Mariana Islands
 6                         Hon. Juan A. Sablan Memorial Bldg., Second Floor
                           Caller Box 10,007, Capitol Hill
 7                         Saipan, Mariana Islands 96950
 8                         Attorney for Defendants
 9
10
11                     August 27, 2009                       /s/ Mark B. Hanson
            DATED: _____________________                     ___________________________
12
                                                             MARK B. HANSON
13
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                      EXHIBIT A
